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     MIDWAY IMPORTING, INC. and
12   GRISI USA, LLC
13
                           UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
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     Balmore Prudencio and Michelle Quintero, Case No. 2:18-cv-01469-AB-RAO
17   individually on behalf of themselves and
     all others similarly situated, and John Does Assigned to: Hon. André Birotte, Jr.
18   (1-100) on behalf of themselves and all
     others similarly situated,                   DEFENDANTS MIDWAY
19                                                IMPORTING, INC. AND GRISI USA,
                   Plaintiffs,                    LLC’S NOTICE OF MOTION AND
20                                                MOTION TO DISMISS SECOND
            -against-                             AMENDED CLASS ACTION
21                                                COMPLAINT
     Midway Importing, Inc. and Grisi USA,
22   LLC                                          [Filed Concurrently with Memorandum
                                                  of Points and Authorities; and [Proposed]
23                 Defendants.                    Order]
24                                               Date:        December 14, 2018
                                                 Time:        10:00 a.m.
25                                               Ctrm::       7B
26                                               Complaint Filed: February 22, 2018
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                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS SECOND
                     AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
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1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2          PLEASE TAKE NOTICE that on December 14, 2018 at 10:00 a.m., or as soon
3    thereafter as counsel may be heard before the Honorable André Birotte, Jr. in
4    Courtroom 7B in the United States Courthouse, located at 350 West First Street, Los
5    Angeles, CA 90012, Defendants Midway Importing, Inc. and Grisi USA, LLC
6    (collectively, “Defendants”) will and hereby do move this Court to dismiss Plaintiffs’
7    Second Amended Complaint.
8          The Motion to Dismiss is made pursuant to Federal Rules of Civil Procedure
9    8(a), 9(b), and 12(b)(1), (2), and (6) on the following grounds:
10            • Plaintiffs have failed to plead any claims against Defendants under Rule
11                8(a) and 9(b) because they have failed to plead sufficient facts to show
12                Defendants’ role in allegedly deceptive advertising when Defendants do
13                not manufacture, label, or advertise the products at issue;
14            •   Plaintiffs have further failed to plead each of their fraud claims with the
15                degree of particularity required by Rule 9(b) because they have failed to
16                plead sufficient facts regarding their purchase of the products, the falsity
17                of the challenged representations, and any purported damages;
18            • Plaintiffs have failed to state a CLRA or UCL claim based on the
19                “natural soap” advertising because they did not suffer any injury as a
20                result of the advertising and because such advertising is not false or
21                misleading as a matter of law;
22            • Plaintiffs have failed to state an express warranty claim because the
23                ingredients in the products were disclosed in the ingredient list;
24            • Plaintiffs have failed to state a claim under the Magnuson Moss Warranty
25                act because they have failed to plead the required jurisdictional elements
26                and because the term “natural” is not a warranty under the Act;
27            • Plaintiffs have failed to state an implied warranty claim because the
28                parties are not in privity and because Plaintiffs have not pled that the
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                   DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS SECOND
                      AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
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1                 products were not merchantable for use as soap;
2              • Plaintiffs’ catchall violation of state consumer protection statutes claim
3                 fails to state a claim under Rule 8, let alone with the particularity required
4                 by Rule 9(b);
5              • Plaintiffs have failed to establish standing under Article III of the U.S.
6                 Constitution to state a claim for prospective injunctive relief because they
7                 have not alleged facts demonstrating that they will be injured again in a
8                 similar way in the future;
9              • Plaintiffs have failed to establish standing under Article III to state any
10                claim respecting products that they did not purchase;
11             • There is no personal jurisdiction over Defendants for claims brought by
12                non-California plaintiffs, because the products purchased by non-
13                California plaintiffs were purchased outside of California, and because
14                Defendants are both incorporated and have their principal place of
15                business in Texas; and
16             • Plaintiffs have failed to establish standing to sue under the laws of states
17                where they do not reside and did not purchase the product(s) at issue.
18         In the alternative, Defendants request the Court stay the action pursuant to the
19   primary jurisdiction doctrine because the FDA has announced that it will soon issue
20   critical guidance relating to “natural” labeling, which will be instructive for, if not
21   dispositive of, the singular issue in this action.
22         This Motion is made following the conference of counsel pursuant to L.R. 7-3
23   which took place on October 4, 2018.
24         This Motion is further based upon this Notice of Motion and Motion, the
25   accompanying Memorandum of Points and Authorities, any reply memorandum
26   submitted by Defendants, the pleadings and filings in this action, any additional
27   matter of which the Court may take judicial notice, and such further evidence or
28   argument as may be presented before or at the hearing on this Motion.
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5    DATED: October 12, 2018             SIDLEY AUSTIN LLP

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                                         By:/s/ Rachel A. Straus
7
                                           Rachel A. Straus
8                                          Attorneys for Defendant
                                           MIDWAY IMPORTING, INC.
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